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                          UNITED STATES BANKRUPTCY COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS


 In re                                               IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                    CHAPTER 13
                Debtor                               CASE NO.: 19-10782


                STATEMENT OF DEBTOR CONCERNING MEDIATION

       NOW COMES, the Debtor, Andrew Greenhut, and hereby reports that the Debtor,

Creditors Gloria and Alan Greenhut and Creditor Gita Srivastava, after consultations with their

respective counsels, were not able at this time to arrive at an agreement to commit the contested

matters presently before the Court in the above-captioned Chapter 13 case to mediation.


                                             Respectfully submitted,

                                             ANDREW GREENHUT, Debtor
                                             By his Attorney,

Date: 9/26/2019                              /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO# 547970
                                             Law Offices of Richard N. Gottlieb
                                             Ten Tremont Street
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                                             Boston, MA 02108
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                                CERTIFICATE OF SERVICE

       I, Richard N. Gottlieb, Esq., do hereby certify that I have this day served a copy of the

Statement of Debtor Concerning Mediation, by First-class mail postage paid and/or

electronically via the CM/ECF Electronic Messaging System on the persons listed below.


Date: September 26, 2019                     /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO # 547970
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                                             Boston, Massachusetts 02108
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                                             rnglaw@verizon.net
PERSONS SERVED:

Carolyn Bankowski, Esq.
Chapter 13 Trustee
(Served via CM/ECF)

Alex Mattera, Esq.
Partridge, Snow and Hahn, LLP
Counsel to Gita Srivastava
(Served via CM/ECF)

Gary W. Cruickshank, Esq.
Counsel for Alan and Gloria Greenhut
(Served via CM/ECF)
